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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                 Case No: 2:18-cv-334
                                    §
vs.                                 §                 PATENT CASE
                                    §
DISH NETWORK CORPORATION            §
                                    §
      Defendant.                    §
___________________________________ §

                      ORDER OF DISMISSAL WITHOUT PREJUDICE

         CAME ON THIS DAY for consideration of the Motion for Dismissal Without Prejudice
     .
of all claims asserted by Plaintiff Rothschild Broadcast Distribution Systems, LLC, against

Defendant Dish Network Corporation and the Court being of the opinion that said motion should

be GRANTED.

          Therefore, IT IS ORDERED that all claims by Plaintiff Rothschild Broadcast

 Distribution Systems, LLC against Defendant Dish Network Corporation are dismissed

 without prejudice with each party to bear its own attorneys’ fees and costs.

          The Clerk of the Court is directed to close this case.

          SIGNED this 10th day of October, 2018.



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                                                             ROBERT W. SCHROEDER III
                                                             UNITED STATES DISTRICT JUDGE
